                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


KATHRYN KNOWLTON, and
DANA McCORMICK, et al,                                             Case No. 20-CV-01660
    Plaintiffs,

        v.
CITY OF WAUWATOSA, BARRY WEBER,
in his official capacity as Chief of Police, and
DENNIS MCBRIDE, in his official capacity
as Mayor of Wauwatosa, et al,

       Defendants.


                        ATTORNEY FEE AFFIDAVIT OF PLAINTIFFS
                                FOR COSTS AND FEES
                          PURSUANT TO DECISION AND ORDER
                            OF THE COURT, AUGUST 20, 2021
                                 & Certificate of Service




We, the undersigned Counsel for the Plaintiffs hereby depose and state upon penalty of perjury:



   1. Kimberley Cy. Motley is an attorney and owner of Motley Legal Services, LLC, home

       office in Charlotte, North Carolina.

   2. Kathryn L. Knowlton is an attorney and owner of Knowlton Law Group, LLC, home office

       in Wauwatosa, Wisconsin.

   3. Milo Schwab is an attorney and owner of Ascend Counsel, home office in Denver,

       Colorado.

   4. Counsel make this affidavit pursuant to Honorable Court’s order of August 20, 2021, ECF

       #46, detailing the reasonable costs and fees relating to and associated with the April 23,




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   2021 deposition of Mr. Dennis McBride.

5. Attorney Kimberley Cy. Motley submits costs and fees as itemized:

       a. 56.5 hours x $550 per hour = $31,075 (including 14 hours of travel)

       b. Flights (roundtrip CLT to MKE) = $243

       c. Car Rental 5 days ($40 per day) = $200

       d. Lodging 5 days ($75 per day) = $375

6. Attorney Kathryn L. Knowlton submits fees as itemized:

       a. 15.5 hours x $475 per hour = $7,362.50

7. Attorney Milo Schwab provides the following verified statement and costs:

       a. I began preparing for this deposition in earnest the week of the deposition.

       b. While I was ultimately able to incorporate some of my prior preparation when

          Defendant McBride’s deposition was ultimately taken, much of the work needed to

          be redone. I needed to again review the essential documents and redevelop my line

          of questioning. Therefore certain amounts of time in preparation were effectively

          wasted as a result of Defendant McBride’s no show.

       c. In an effort to ensure that my hours are reasonable, I have reduced by half the hours

          in preparation for Monday and Tuesday. However, preparation done the two days

          before were completely redone when Defendant McBride’s deposition was

          ultimately taken.

       d. On that basis, I provide the following fees and costs:

               i. Attorney Hours:

                      1. Travel to Milwaukee: 4 hours

                      2. Travel from Milwaukee: 4 hours




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                    3. Preparation for deposition on 4/19/2021: 1.8 hours (half of total 3.6

                           hours prepped)

                    4. Preparation for deposition on 4/20/2021: 3.1 hours (half of total 6.2

                           hours prepped)

                    5. Preparation for deposition on 4/21/2021: 4.6 hours

                    6. Preparation for deposition with Kimberley Motley on 4/22/21: 4.1

                           hours

                    7. Time spent at deposition waiting, during hearing on failure, and time

                           unavailable for working on other matters: 6 hours

                    8. Caselaw research for sanctions motion: 1.4 hours

                    9. Drafting Motion for Sanctions: 3.2 hours

                    10. Preparation of attachments to Motion for Sanctions: 1 hour

                                                 33.2 hours x $450 per hour: $14,940.00

             ii. Flights

                    1. Denver to Chicago, 4/22/2021: $92.98

                    2. Milwaukee to Denver, 4/24/2021: 98.40

                    3. Parking: $51.00

                                                 Total: $242.38

            iii. Lodging & Food

                    1. Hotel, 4/22/21 - 4/24/20: $159.40

                    2. Meals: $60.00

                                                 Total: $219.40

8. Miscellaneous Expenses




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   Court Reporter = 6.0 hours x $75/hour = $450

   Videographer = 6.0 hours x $150/hour = $900

9. Based on each respective attorney’s experience, the hourly fees reflected above are

   consistent with the rates charged by civil rights litigators with the required experience and

   sophistication required to bring and litigate a case of this size, nature and complexity.

10. We, undersigned Counsel, have reviewed the original time entries for the legal fees

   submitted and affirm that the work was actually performed for the benefit of the litigation

   in preparing for deposition of Defendant McBride, was necessary for the proper and

   professional preparation and execution of the missed deposition, and that the fees are

   reasonable given (1) the time and labor required, (2) the complexity and novelty of

   problems involved, and (3) the extent of the responsibilities assumed and the results

   obtained. Furthermore, the hourly rates and overall charges are fair when compared against

   the fees charged for comparable work by similar firms in other major metropolitan areas.

11. We, the undersigned Counsel, specifically note that the time billed by each of us, was not

   duplicative of the time spent by the others. That is, we have communicated and compared

   our work and time spent on the specific preparation for April 23, 2021, and to the best of

   our ability and upon review, we coordinated to best ensure no duplication.

12. Finally, upon review of the file and the hours claimed herein, we note that not all of the

   time spent on this case was captured in the time records. For example, numerous emails

   between clients and co-counsel and between opposing counsel were not included.

   Therefore, we believe the time reflected is a conservative accounting of the actual time

   spent on this part of this matter as a direct result, and in direct relation to the sanctioned

   conduct.




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I, Kimberley Cy. Motley, hereby swear under penalty of perjury that this Affidavit and the
information contained herein is truthful and accurate to the best of my knowledge, information,
and belief. Under penalties of perjury, and pursuant to 18 USC 1621 and 1623, I declare that the
above facts and statements are true and correct to the best of my knowledge:

       August 30, 2021
       ____/s/ Kimberley Cy. Motley_________________
       Kimberley Cy. Motley


I, Kathryn L. Knowlton, hereby swear under penalty of perjury that this Affidavit and the
information contained herein is truthful and accurate to the best of my knowledge, information,
and belief. Under penalties of perjury, and pursuant to 18 USC 1621 and 1623, I declare that the
above facts and statements are true and correct to the best of my knowledge:

       August 30, 2021
       ____/s/ Kathryn L. Knowlton_________________
       Kathryn L. Knowlton



I, E. Milo Schwab, hereby swear under penalty of perjury that this Affidavit and the information
contained herein is truthful and accurate to the best of my knowledge, information, and belief.
Under penalties of perjury, and pursuant to 18 USC 1621 and 1623, I declare that the above facts
and statements are true and correct to the best of my knowledge:

       August 30, 2021
       ____/s/ E. Milo Schwab_________________
       E. Milo Schwab

                                  CERTIFICATION OF SERVCE

In addition to electronically filing in United States District Court, Eastern District of Wisconsin
(Milwaukee) CIVIL DOCKET FOR CASE #: 2:20-cv-01660-NJ, I certify that on August 30, 2021, I
delivered to Gunta Law Office, pursuant to FRCP Rule 5(b)(2)(E), an email copy of same of this document
to Defendant Attorney, Jasmyne M. Baynard, Esq. at the email address she provided: jmb@guntalaw.com.

KNOWLTON LAW GROUP, LLC
        /s/ Kathryn L. Knowlton
Attorney Kathryn L. Knowlton
SBN: 1032814
kate@knowltonlawgroup.com
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7219 West Center Street
Wauwatosa, WI 53210
Facsimile: 414-930-8830 / Phone: 414-202-2444




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